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Form CGFI19 (4/26/17)




ORDERED in the Southern District of Florida on July 10, 2020




                                                                            Laurel M Isicoff
                                                                            Chief United States Bankruptcy Judge



                                       United States Bankruptcy Court
                                          Southern District of Florida
                                            www.flsb.uscourts.gov
In re:

Name of Debtor(s): Carlos R. Weissenberg                                 Case Number: 20−17132−LMI

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Denmark Properties Limited
Plaintiff(s)
VS.                                                                      Adversary Number: 20−01257−LMI
Carlos R. Weissenberg
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/



                 ORDER SETTING FILING AND DISCLOSURE REQUIREMENTS
                              FOR PRETRIAL AND TRIAL
         To expedite and facilitate the trial of this adversary proceeding, it is:

ORDERED as follows:

   1(a). RIGHT TO JURY TRIAL; WAIVER. Unless each party has timely filed a statement of consent
         under Local Rule 9015−1(B), and unless otherwise ordered by the Court, not later than fourteen
         (14) days before the pretrial conference, as the same may be continued by the Court, each party
         requesting a jury trial on any issue in this proceeding shall file with this court pursuant to Local
         Rule 5011−1 a motion for withdrawal of the reference. FAILURE OF ANY PARTY TO FILE A
         MOTION TO WITHDRAW THE REFERENCE ON OR BEFORE THE DEADLINE PROVIDED IN
         THIS PARAGRAPH SHALL CONSTITUTE WAIVER BY SUCH PARTY OF ANY RIGHT TO
         TRIAL BY JURY IN THIS PROCEEDING.


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(b).   OBJECTION TO ENTRY OF FINAL ORDERS AND JUDGMENTS BY THE BANKRUPTCY
       COURT; CONSENT. Unless otherwise ordered by the Court, not later than fourteen (14) days
       before the pretrial conference, as the same may be continued by the Court, each party objecting
       to the entry of final orders or judgments by this court on any issue in this proceeding shall file
       with this court a motion pursuant to Rule 7016(b), Fed.R.Bankr.P., requesting that this court
       determine whether this proceeding is subject to the entry of final orders or judgments by this
       court. Any such motion shall be treated as an objection to the entry of final orders or judgments
       by this court. FAILURE OF ANY PARTY TO FILE A MOTION ON OR BEFORE THE DEADLINE
       PROVIDED IN THIS PARAGRAPH SHALL CONSTITUTE CONSENT BY SUCH PARTY TO
       THIS COURT ENTERING ALL APPROPRIATE FINAL ORDERS AND JUDGMENTS IN THIS
       PROCEEDING. Nothing in this paragraph limits this court's ability to determine whether this
       proceeding is subject to entry of final orders or judgments by this court.

2.     DISCLOSURES. Except as otherwise ordered by the Court, Rules 26(d)(1), 26(d)(2) and 26(f),
       Fed.R.Civ.P., shall not apply to this adversary proceeding. The disclosure requirements of Rules
       26(a)(1), 26(a)(2), and 26(a)(3)(A), Fed.R.Civ.P., shall apply, but according to the following
       deadlines:

          a. The initial disclosures required by Rule 26(a)(1), Fed.R.Civ.P., shall be made at least
             twenty−eight (28) days before the pretrial conference.

          b. The disclosure of expert testimony under Rule 26(a)(2), Fed.R.Civ.P., shall be made (i) at
             least twenty−one (21) days before the pretrial conference or (ii) within fourteen (14) days
             after an opposing party's disclosure of evidence that gives rise to the need for the expert,
             whichever is later. The party disclosing an expert witness shall, within fourteen (14) days
             of the disclosure, but in no event less than seven (7) days before the pretrial conference,
             provide to each opposing party a written report prepared and signed by the witness as
             required by Rule 26(a)(2)(B), Fed.R.Civ.P.

           c. The pretrial disclosures under Rule 26(a)(3)(A), Fed.R.Civ.P., shall be made no later than
              the pretrial conference.

          d. All disclosures under Rules 26(a)(1), 26(a)(2), and 26(a)(3)(A), Fed.R.Civ.P., shall be
             made in writing, signed, served, and, except for copies of exhibits and expert witness
             reports, shall be filed with the Court.

3.     DISCOVERY. All discovery shall be completed not later than fourteen (14) days before the
       pretrial conference. The Court will allow discovery after that date only upon a showing of good
       cause.

4.     JOINT PRETRIAL STIPULATION. If any party is not represented by counsel in this proceeding,
       this paragraph shall not apply. All parties to this proceeding shall meet not later than fourteen
       (14) days prior to the pretrial conference to confer on the preparation of a Joint Pretrial
       Stipulation in substantially the form of Local Form 63C. The plaintiff shall file the fully executed
       Joint Pretrial Stipulation no later than one (1) business day prior to the pretrial conference. The
       Court will not accept unilateral statements and will strike sua sponte any such submissions.
       Should any of the parties fail to cooperate in the preparation of the Joint Pretrial Stipulation, any
       other party may file a motion requesting an order to show cause why such party or parties
       (and/or their counsel) should not be held in contempt for failure to comply with this order.

5.     TRIAL DATE. At the pretrial conference, the Court will set the trial of this proceeding.


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6.   SPECIAL SETTINGS. If the attorney(s) trying the case are from outside this district, or the
     parties or witnesses are from outside this district, or if some other reason exists that justifies a
     request to the Court to specially set trial at a time or date certain, counsel shall request
     appropriate relief at the pretrial conference.

7.   DOCUMENTS REQUIRED BEFORE TRIAL.

        a. Unless ordered otherwise and except where the party receiving the exhibits is appearing
           pro se, each party shall serve in electronic format each opposing party (but not file), so as
           to be received no later than 4:00 p.m. four (4) business days prior to the pretrial
           conference, the following documents:

                   (1) A set of pre−marked exhibits (including summaries) intended to be offered as
                       evidence at trial. Exhibits tendered by plaintiff(s) shall be marked numerically,
                       and exhibits tendered by defendant(s) shall be marked alphabetically. Exhibits
                       shall be submitted in electronic Portable Document Format (PDF) and stored
                       on a USB flash drive or compact disc. Each individual PDF file shall be limited
                       to a single exhibit of a file size no greater than 10MB, and shall be
                       accompanied by an Exhibit Register conforming to Local Form 49.

                   (2) With regard to any summary the party will offer in evidence at trial, a notice of
                       the location(s) of the books, records, and the like, from which each summary
                       has been made, and the reasonable times when they may be inspected and
                       copied by adverse parties.

        b. Each party shall file and deliver, so as to be received no later than 4:00 p.m. two (2)
           business days prior to the pretrial conference, any objection to the admissibility of any
           proposed exhibit, including any deposition transcript or recording (audio or video) or any
           summary. The objection must (i) identify the exhibit, (ii) state the grounds for the
           objection, and (iii) provide citations to case law and other authority in support of the
           objection. An objection not so made − except for one under Federal Rule of Evidence 402
           or 403 − is waived unless excused by the Court for good cause.

8.   SWORN DECLARATIONS. At each party's option, the direct testimony of any witness, except
     adverse, hostile, or rebuttal witnesses, may be presented by sworn declaration consisting of a
     succinct written statement of the direct testimony that the witness would be prepared to give if
     questions were propounded in the usual fashion at trial. If a party offers a sworn declaration in
     lieu of direct testimony:

        a. The statement shall substantially conform to Local Form 63B and shall be signed by the
           declarant under penalty of perjury;

        b. Each statement of fact shall be separate, shall be sequentially numbered, and shall
           contain only facts that are relevant and material to the contested issue before the Court,
           avoiding redundancies, hearsay, and other obviously objectionable statements;

         c. The statement may be referenced as the witness's "sworn declaration of fact;"

        d. The original sworn declaration of fact shall be marked as a proposed exhibit and filed and
           served as otherwise required by this order;


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         e. Objections to any portion of a sworn declaration of fact may be raised at the time the
            sworn declaration of fact is offered to the Court. The witness shall then be sworn and
            asked if the sworn declaration of fact correctly reflects the testimony that would be given
            if the witness was asked the appropriate questions. Opposing counsel may then
            cross−examine the witness. At the conclusion of cross−examination, the party whose
            witness is on the stand may conduct redirect examination in the usual manner; and

          f. The Court may require that direct testimony be provided in the usual manner during trial
             even if a sworn declaration of fact is offered.

9.    FINAL ARGUMENT. At the conclusion of the trial, in lieu of final argument, the Court may
      request that each party submit (a) a written closing statement with supporting legal argument or
      (b) a proposed memorandum opinion with findings of fact and conclusions of law with a separate
      proposed final judgment, in word processing format, to an electronic mailbox designated by the
      Court. The filer must include in the "subject" line the case name and number and the date of the
      relevant hearing.

10.   DISPOSITIVE MOTIONS. All motions to dismiss and motions for summary judgment shall be
      filed and served not later than ten (10) days before the pretrial conference and shall comply with
      Local Rule 7056−1, if applicable. Absent good cause, failure to file and serve such a motion in a
      timely manner shall constitute waiver of the right to do so. Absent prior permission of the Court,
      no party shall file any motion to dismiss, motion for summary judgment, or response thereto,
      exceeding twenty (20) pages in length, and no party shall file any reply exceeding ten (10) pages
      in length. Title pages preceding the first page of text, signature pages, and certificates of service
      shall not be counted as pages for purposes of this paragraph.

      If a party submits affidavits, declarations, or other materials in support of or in opposition to a
      motion for summary judgment, then: (A) the movant must serve with the motion all such
      materials; and (B) the opposing party must serve with the response all such materials in
      opposition to the motion. Any reply shall be strictly limited to rebuttal of matters raised in the
      response. Absent prior permission of the Court, in connection with any motion for summary
      judgment no party shall file affidavits or declarations that exceed twenty (20) pages in the
      aggregate.

      Filing multiple motions for summary judgment is prohibited, absent prior permission of the Court.
      This prohibition is not triggered when, as permitted by Rule 12(d), Fed.R.Civ.P., the Court elects
      to treat a motion filed pursuant to Rule 12(b) or 12(c), Fed.R.Civ.P., as a summary judgment
      motion.

11.   COMPLIANCE WITH FEDERAL JUDICIARY PRIVACY POLICY. All papers, including exhibits,
      submitted to the Court must comply with the federal judiciary privacy policy as referenced under
      LR 5005−1(A)(2).

12.   MEDIATION. Pursuant to Local Rule 9019−2, the Court may order the assignment of this
      proceeding to mediation at the pretrial conference or at any other time, upon the request of a
      party or upon the court's own motion.

13.   SETTLEMENT. If the proceeding is settled, the parties shall submit to the Court a stipulation or
      proposed judgment approved by all parties prior to the date of trial. If a judgment or stipulation is
      not submitted to the Court, all parties shall be prepared to go to trial. If the proceeding is
      removed from the trial calendar based upon the announcement of a settlement, the proceeding
      will not be reset for trial if the parties fail to consummate the settlement. In such event, the Court
      will consider only a motion to enforce the settlement, unless the sole reason the settlement is not
      consummated is that the Court did not approve the settlement, in which case the matter will be
      reset for trial at a later date.


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14.   DEFAULT. If any defendant fails to answer or otherwise respond to the complaint in a timely
      manner, the plaintiff(s) shall promptly seek entry of a clerk's default pursuant to Bankruptcy Rule
      7055(a), and Local Rule 7055−1, and shall move for default judgment. Unless judgment has
      been entered or the Court advises the plaintiff(s) that the pretrial conference has been continued
      or canceled, the plaintiff(s) shall appear at the pretrial conference.

15.   SANCTIONS. Failure to comply with any provision of this order or failure to appear at the pretrial
      conference may result in appropriate sanctions, including the award of attorney's fees, striking of
      pleadings, dismissal of the action, or entry of default judgment.

16.   CONTINUANCES. Continuances of the pretrial conference or trial or any deadlines set forth in
      this order must be requested by written motion. Any request for continuance or amendment to
      this order shall set forth the status of discovery, including exchange of disclosures required
      under this order, and shall state the reasons why the party or parties seek a continuance.

17.   SERVICE. Plaintiff(s)' counsel shall serve a copy of this order on the defendant(s) with the
      summons and complaint.


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A copy of this order was furnished to Eduardo Ayala Maura on behalf of the Plaintiff on July 10, 2020.

                                                   By: Marva Reynolds
                                                   Deputy Clerk


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